EXHIBIT 1
A Third of TikTok’s U.S. Users May Be 14 or Under, Raising Safety Que... https://www.nytimes.com/2020/08/14/technology/tiktok-underage-users-f...




1 of 5                                                                                                                       8/23/2020, 8:42 AM
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2 of 5                                                                                                                       8/23/2020, 8:42 AM
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